                                                                                                                          ra>pu ov lcE b.s.DlsT.cour
   AO2458     (Rev.2/16-VAW Adli
                               titms11/15)JudgmentinaCriminalCase                                                             v liM RlsoNBuRq vA
              Sheet1                                                                                                                 FPWn

                                       UNITED STA TES DISTRICT COURT                                                                  JUN 15 2219
                                                                                                                                  JUL c.:
                                                                                                                                        )      cuERlt
                                                   W estern D istrictofV irginia                                                  :
          UNITED STATESOFAMERICA                                             JUDGM ENT IN A CRIM INAL CASE
                            V.                                               casexumber, ovaw slscRootltlzo-ot)l
       W ARREN EV AN S,JR.                                                   CaseNumber'
                                                                                       .
                                                                             U SM N llm ber: 58902-037
                                                                             RussellDarren Bostic
                                                                             Defendant'sAttorney
THE DEFENDANT'
             .
X pleadedguiltytocountts) 1& 2
Z pleadednolocontenderetocountts)
   whichwasacceptedbythecourt.
Z wasfoundguiltyoncountts)
   aûerapleaofnotguilty,

Thedefendantisadjtldicatedguiltyoftheseoffenses:
 Title & Section                Nature ofO ffense                                                                    OffenseEnded           Count
21U.S.C.j 846           ConspiracytoDistribute1000gramsormoreofHeroin;280                                            October2014
                        gram sorm oreofCocaineBase;& aquantityofCocaineHydrochloride
21U.S.C.j846            ConspiracytoDistributeHeroin,theUseofW hichResultedinthe                                     October2014             2
                        SeriousBodilyInjuryandDeathofR.  F.L.


       Thedefendantissentencedasprovidedinpages2through                            6            'ofthisjudgment.Thesentenceisimposedpursuantto
theSentencingReform Actof1984.
Z Thedefendanthasbeenfoundnotguiltyoncountts)
Z Countts)                                  Z is Z aredismissedonthemotionoftheUnitedStates.
      iliItisorderedthatthedefendqntmustnotifytheUnltedStatesattomeyforthisdiltrlctwithin30daysofpnychangeofname,residepce
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    defenja
          andtdmu
               resstunno
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                                                                                                                        sald.Iforderedtopayrestitutlon,
                                                                                                                          .



                                                                             June 15,2016
                                                                            DateofImpositionofJudgment       .                w


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                                                                    . ..
                                                                      ;1.
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                                                                        9!
                                                                         'r
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                                                                           ;.j;
                                                                              ..1jry.,.,.
                                                                                      SignatureofJudge                            .



                                                                             M ichaelF.Urbanski,United StatesDistrictJudge
                                                                            NameandTitleofJudge

                                                                                  o L - /r -.z o /é
                                                                            Date




            Case 5:15-cr-00020-MFU Document 53 Filed 06/16/16 Page 1 of 6 Pageid#: 501
AO2458       (Rev.2/16-VAW Additions11/11)JudgmentinCriminalCase
             Sheet2 -Im nrisomzlent
                                                                                                  Judgment-Page   2   of   6
DEFEN DAN T: W ARREN EVANS,JR.
CA SE N U M BER :DVAW 515CR000020-001


                                                             IM PRISONM ENT

         ThedefendantisherebycommittedtothecustodfoftheFederalBureauofPrisonstobeimprisonedforatotalterm of:
    372m onthsastoCount1and Count2,whichistorunconcurrently,foratotalsentenceofimprisonm entof372months.




    K ThecourtmakesthefollowingrecommendationstotheBureauofPrisons:
    Thatthedefendantbehousedasclosetohcmeaspossiblethatsuitshisclassification,specifically,FCICum berland.
    Thatthedefendantreceive the appropriatednzg treatm ent.


    l
    X 1 Thedefendantisremandedtothecustody oftheUnitedStatesMarshal.

    I'-I ThedefendantshallsurrendertotheUnitekStatesMarshalforthisdistrict:
         r-l at                                   EEI a.
                                                       m . r-I p.m .       on

         1-I asnotifiedbytheUnitedStatesMarshal.
    !-1 Thedefendantshallsurrenderforserviceofsentenceattheinstimtio'
                                                                    ndesignatedbytheBureauofPrisons:
         I'-I before             on
         N     asnotifiedbytheUnitedStatesM arshal.
         F-I asnotifiedbytheProbationorPretrialServicesOffice.

                                                                   RETURN
Ihaveexecutedthisjudgmentasfollows:




         Defendantdelivered on                                                      to

a                                                   ,   withacertifiedcopyofthisjudgment.


                                                                                               UNITED STATESMARSHAL

                                                                        By                            -

                                                                                            DEPUTY UNITED STATESMARSHAI,




             Case 5:15-cr-00020-MFU Document 53 Filed 06/16/16 Page 2 of 6 Pageid#: 502
AO 2458      (Rev.2/16-VAW Additions11/15)JudgmentinaCriminalCase
             Sheet3- SuperviscdRelease                                                            -
                                                                                      .   -- -                    -    -- -
                                                                                                 Judgment- page   -   3-      of   6
DEFENDANT: W ARREN EVANS,JR.
CASE N UM BER:DVAW 5l5CR000020-001
                                                    SUPERNISED RELEASE
Uponreleasefrom imprisonm ent,thedefendantshallbeonsupervisedreleaseforaterm of:
5 years:5yearson CountOne,and 3 years on CountTwo,a1lsuch termsto nm concurrently.

       Thedefendantmustrepoztto theprobation office in the districttowhich the defendantisreleased w ithin 72 hoursofreleasefrom the
custodyoftheBureauofPrisons.
Thedefendantshallnotcommitanotherfederal,stateorlocalcrime.
Th edefendantshallnotunlawfullyppssessacontrolledspbjtancesThedefendantshallreAainfrom anyunlawfuluse.ofaçonkolled
substance.Thedefepdantshallsubmlttoonedrugtestwlthln 15daysofreleasefrom imprlsonmentandatleasttwoperlodlcdrugtests
thereaûer,asdetenm nedbythecourt.
EI
 EI Theabovedrugtestingconditionissuspended,basedonthecourt'sdetermilzationthatthedefendantposesa1ow risk of
         futuresubstanceabuse.(Check,çapplièable.
                                                )
K     Thedefendantshallnotpossessatirearm,amlnunition,destructivedevice,orany otherdangerousweapon.(Check çapplicable.
                                                                                                                     )
K     Thedefendantshallcooperateinthecollection ofDNA asdirectedby tlzeprobationofficer.(Checkçapplicable.
                                                                                                         )
         ThedefendantshallcomplywiththereqBuirementsottheSexOffenderRegistrationandNotificationAc!(42I.J.S.C.j16901,qtseq.)
         asdirectedbytheprobatlonoffigerythe ureapojprlsons oranystatesexoffenderregistrationagencylnwhlchheorsheresldes,
         works,isastudent,orwasconvlctedofaquallfylngoffenle. (Check,çapplicable.
                                                                                )
I
Zl Thedefendantshallparticipateinanapprovedprogram fordolnesticviolence.(Check,fappltcabl
                                                                                        e.
                                                                                         )
S       lfthisjudgmentimposeqafineorrestitution,itisaconditionofsupervisedreleasethatthedefendantpayinaccordancewiththe
 cheduleofPaymentssheetofthlsjudgment.                                                            '
         Thedefendantmustcomplywiththestandardconditionsthathavebeen adoptedbythiscourtaswellaswithanyadditionalconditions
on theattached page.
                                         STAND         CONDITIONS OF SUPERVISION
    1)    thedefendantshallnotleavethejudicialdistrictwithoutthepermissionofthecourtorprobationofficer;
    2)    thedefendantshallreporttotheprobationofficerinamannerandfrequencydirectedbythecourtorprobationofficer;
    3)    thedefendantshallanswertruthfullyallinquiriesbytheprobationofficerandfollow theinstructionsoftheprobationofficer;
    4)    thedefendantshallsupporthisorherdependentsandmeetotherfamilyresponsibilities;
    5)    thedefendantshallworkregularlyatalawfuloccupation,unlessexcusedbytheprobationofficerforschooling,training,orother
          acceptable reasons;
    6) thedefendantshallnotifytheprobationofficeratleasttendayspriortoanychangeinresidenceoremployment;
    7) thedefendantshallrefrainfrom excessiyeuseofalcoholandshallnotpurchase,possess,use,distributeyoradpjnisterany
       controlled substance orany paraphernallarelatedto any controlled substances,exceptasprescribed by a physlolan;
    8) thedefendantshallnotfrequentplaceswherecontrolledsubstancesareillegallysold,used,distributed,oradministered;
          thedefendantshallnotassoçiatewithanypersonsengaged incriminalactivityandshallnotassociatewithanypersonconvictedofa
          felony,unlessgrantedpennlssiontodoso-bytheprobatlonofficer;
 10) thedefendantshallpepnit4prqbationofficerto visithimorheratanytimeathomeorelsewhereandshallpennitconfiscationofany
          contrabandobservedln plalnvlew oftheprobationofficer;
          thedefendantshallnotify theprobation officerw ithin seventy-two hoursofbeing arrestedorquestioned by a 1aw enforcementofficer;
          thedrfepdantshallnotenterintoany agreem enttoactasan informeroraspecialagentofa1aw enforcementagencyw ithoutthe
          permlsslonofthecourq and

          asdirectedby theprpbationofficec thedefendantshallnotifythirdpartiesofrisksthatmaybeoccasionedbythedefendant'scriminal
          recordorpersonalhlstory orcharaJtqisticsandshallpennittheprobationofficerto makesuchnotificationsandtoconfinn the
          defendanPscompliancewithsuchnotlficationrequirement.




            Case 5:15-cr-00020-MFU Document 53 Filed 06/16/16 Page 3 of 6 Pageid#: 503
 AO2458     (Rev.2/16-VAW Addi
                             tions11/15)JudgmentinaCrimi
                                                       nalCase
            Sheet3C -Supew isedRelease
                                                                                                  Judgment-page     4    of        6
 DEFEN DA NT : W ARREN EVAN S,JR.
 CA SE N UM BER:DVAW 515CR000020-001
                                 SPECIAL CONDITIONS OF SUPERV ISIO N
Thedefendantshallpayanyspecialassessmentand/orfinethatisimposedbythisjudgment.
The defendantshallparticipatein a program oftesting forsubstance abuse,asapprovedby theprobation officer,untilsuch tim easthe
defendanthassatisfied a11requirem entsoftheprogram .

Follow ing releasefrom imprisonm ent,the courtwillevaluate defendant'   s stam sand determinewhether,aQerincarceration,drug rehabilitation
isnecessary and appropriate.lfadditionalrehabilitation is deem ed appropriate,the defendantshallparticipate in a program asdesignated by
the court,upon consultation w ith theprobation officer,untilsuch tim e asthedefendanthassatisfied a1lthe requirem entsoftheprogram .

The defendantshallreside in aresidence free offirearm s,amm unition,destnlctivedevices,and dangerousweapons.

Thedefendantshallsubmittowarrantlesssearchand seizureofpersonandproperty asdirectedbytheprobation officer,todeterm inewhether
the defendantis in possession offirearm sand/orillegalcontolled substances.




           Case 5:15-cr-00020-MFU Document 53 Filed 06/16/16 Page 4 of 6 Pageid#: 504
AO 2458   (Rev.2/16-VAW Additions11/15)Judgl
                                           nentinaCril
                                                     ninalCase
          Sheet5-CriminalM onetaryPenalties
                                                                                        Judgment-Page          5    of        6
D EFEN DA N T: W ARREN EVAN S,.  IR.
CA SE N U M BER : DVAW 515CR000020-001
                                         CRIM INAT,M O NETM W PENAT,TIES
     Thedefendantmustpay thetotalcriminalmonetary penaltiesunderthescheduleofpaylnentson Sheet6.

                    Assessm ent                                  Fine                           Restitution
TOTALS           $ 200.00                                   $ 1,000.00                      $


Z Thedeterminationofrestitutionisdeferreduntil              .AnAmendedludgmentinaCriminalCase(AO 245C)willbeentered
     aRersuch deterl
                   nination.

I
Z Thedefendantmustmakerestitution(includingcommunityrestitution)tothefollowingpayeesintheamountlistedbelow.
     Ifthe defendantmakesapartialpaym ent,each payee shallreceive an approxil
                                                                            nately proportioned paym ent,unlessspecified otherwise
     inthepriorityorderorpercentagepaymentcolumnbelow.However,pursuantto18U.S.C j3664(i),a1lnonfederalvictilnsmustbe
     paidbeforetheUnitedStatesispaid.
Nam e ofPavee                                      TotalLoss*               Restitution Ordered               Priority orPercentaee




 TOTALS                                                          $0.00                             $0.00

     Restitutionamountordered pursuanttopleaagreement$
     Thedefendantmustpayinterestonrestitution andafineofmorethan$2,500,unlesstherestitutionorfineispaidinfullbeforethe
     fiAeenthdayafterthedateofthejudgl nent,pursuantto18U.S.C.5361249.A11ofthepaymentoptionsonSheet6maybesubject
     topenaltiesfordelinquencyanddefault,pursuanttolsU.S.C.j3612(g).
     Thecourtdeterm inedthatthedefendantdoesnothavetheabilitytopay interestanditisorderedthat:
     E1TItheinterestrequirementiswaivedforthe EEI tine EEI restitution.
     Z theinterestrequirementforthe EE1 fine I  Z restitutionismodifiedasfollows:


 *Findingsforthetotalamountoflosses are required underChapters 109A,110,1IOA,and 113A ofTitle 12 foroffensescomm itted on
 orafterSeptem ber13,1994,butbeforeApril23,1996.

          Case 5:15-cr-00020-MFU Document 53 Filed 06/16/16 Page 5 of 6 Pageid#: 505
AO 2458       (Rev.2/16-VAW Additions11/l5)JudgmentinaCriminalCase
              Sheet6-ScheduleofPayments

DEFENDAN T: W ARREN EVAN S,.IR .                                                                       Judgm ent-Page 6 of 6
CASE      ER:DVAW 515CR000020-001
                                                  SC       D U LE O F PA          EN TS
H avingassessedthedefendant'sabilitytopay,thetotalcriminalmonetarypenaltiesaredueimm ediatelyandpayableasfollow s:
A X Ltlmpsum paymentof$200.00            immediately,balancepayable
       IZ notlaterthan                        ,or
       X inaccordance         I
                              Z C, I Z D, I   Z E, K F or,I    Z Gbelow);or
B Z Paymenttobeginimmediately(maybecombinedwith I  Z C, Z D, Z F,or Z G below);or
cIZ Paymentinequal                     (e.g.,weekly,monthly,quarterly)installmentsof$                               overaperiodof
                       (e.g.,monthsoryears),tocommence                      (e.g.,30or60days)afterthedateofthisjudgment;or
          Paymentinequal                        (e.g.,weekly,monthly,quarterly)installmentsof$                overaperiodof
                       (e.g.,monthsoryears),tocommence                      (e.g.,30or60days)aûerreleasefrom imprisonmenttoa
          term ofsupervision;or
          Paymentduringtheterm ofsupervisedreleasewillcommencewithin                         (e.g.,30or60days)afterreleasefrom
          im prisonment. Thecourtwillsetthepaym entplan based on an assessm entofthedefendant'sability to pay atthattime;or
F I:I Duringthetennofimprisonment,paymentinequal                     monthly   (e.g.,weekly,monthly,quarterly)installmentsof
          S        25.00     ,or     50    % ofthedefendant'sincom e,whicheveris.great
                                                                                     er
                                                                                    .tocommence 60'     davs (e.g.,30Or
          60days)aflerthedateofthisjudgment;AND paymentinequal                      (e.g.,weekly,monthly,quarterly)
          installmentsof$                duringtheterm ofsupervisedrelease,tocommence                    (e.g.,30or60days)
          afterrelease from imprisonm ent.
          Specialinstructionsregardingthepaym entofcrim inalm onetarypenalties:



Anyinstallmentscheduleshallnotprecludeenforcementoftherestitution orfineorderbytheUnitedStatesunder18U.S.C ûj3613and
3664419.
Anyinstallmentscheduleissubjecttoadjustmentbythecourtatanytimeduringtheperiodofimprisonmentorsuperdsion,andthedefendant
shallnotify theprobation officerand theU .S.Attorney ofany change in the defendant'
                                                                                  seconom iccircum stancesthatm ay affectthe
defendant'sability to pay.
A11crim inalm onetarypenaltiesshallbem adepayabletotheClerk,U.S.D istrictCourt,210FranklinRd.,Suite540,Roanoke,Virginia24011,
fordisbursem ent.
The defendantshallreceivecreditforallpaym entspreviously m ade toward any crim inalm onetary penaltiesim posed.
Anyobligationtopayrestitutionisjointandseveralwithotherdefendants,ifany,againstwhom anorderofrestitutionhasbeenorwillbe
entered.
  Z JointandSeveral
      DefendantandCo-DefendantNamesandCaseNumbers(includingdefendantnumber),TotalAmount,JointandSeveralAmount,and
      corresponding payee,ifappropriate.




  I--IThedefendantshallpaythecostofprosecution.
   I
   --IThedefendantshallpaythefollowingcourtcostts):
   I
   --IThedefendantshallforfeitthedefendant'sinterestinthefollowingpropertytotheUnitedStates:



  Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restimtionprincipal,(3)restitmioninterest,(4)fineprincipal,
  (5)fineinterest,(6)communityrestitution,(7)penalties,and(8)costs,includingcostofprosecutionandcourtcosts.
              Case 5:15-cr-00020-MFU Document 53 Filed 06/16/16 Page 6 of 6 Pageid#: 506
